Case 1:07-cv-01238-LG-RHW Document 181-3

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Filed 10/07/09

Page 1 of 1

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Re: In the United States District Court for the Southern District of Mississippi,

Southern Division, Civil Action No. 1:07-cv-1238-LG-RHW

Carrubba v. Harrison County, MS et al.
Our File No. 1811.0121

Dear Mr. Buchanan and Mr. Watts:

Mrs. Carubba testified at her deposition that she has received treatment from additional
medical providers. To date we have not received this information. Please provide us with the
names and addresses of these providers. Additionally, we will need the enclosed medical
authorizations executed by Mrs. Carrubba in order to obtain the medical records from the

additional medical providers.

Please allow this letter to serve as our Good Faith effort to obtain this information.

Please respond within five (5) days from the date of this letter. If you should have any questions,
or wish to discuss this matter further, please do not hesitate to contact either myself or Haley
Broom.

Very truly yours,

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JCGAam
Enclosures

